         Case 1:21-cr-00243-JPH-DML Document 2 Filed 08/09/21 Page 1 of 14 PageID #: 2
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                   Southern District
                                                 __________ Districtof
                                                                     ofIndiana
                                                                        __________

                  United States of America                        )
                             v.                                   )
                                                                  )      Case No.
                                                                  )                 1:21-mj-0727
                                                                  )
                     NATHAN CANARY                                )
                                                                  )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   August 3, 2021              in the county of                Marion           in the
     Southern          District of            Indiana         , the defendant(s) violated:

            Code Section                                                    Offense Description
21 U.S.C. § 841(a)(1)                          Possession with Intent to Distribute a Mixture or Substance Containing a
                                               Detectable amount of Marijuana

18 U.S.C. § 924(c)                             Possession of a Firearm in Furtherance of a Drug Trafficking Offense

18 U.S.C. § 922(g)(1)                          Possession of a Firearm by a Previously Convicted Felon



         This criminal complaint is based on these facts:
See attached Affidavit.




         ✔ Continued on the attached sheet.
         u

                                                                                              /s/Luther A. Selby
                                                                                             Complainant’s signature

                                                                                    Luther A. Selby, Special Agent, HSI
                                                                                              Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
   telephone
 UHOLDEOHHOHFWURQLFPHDQV
            8/9/2021
Date:
                                                                                                Judge’s signature

City and state:                      Indianapolis, Indiana                     MARK J. DINSMORE, U.S. Magistrate Judge
                                                                                              Printed name and title
Case 1:21-cr-00243-JPH-DML Document 2 Filed 08/09/21 Page 2 of 14 PageID #: 3




                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

         I, Luther Selby, U.S. Department of Homeland Security ("DHS"), Immigration and

Customs Enforcement ("ICE"), Homeland Security Investigations ("HSI"), being duly sworn,

hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

          1.    I am currently a Special Agent with ICE-HSI. I have been a Special Agent

 for almost 11 years and have over 12 years of law enforcement experience. During that

 time, I have served as a Special Agent for the Bureau of Alcohol, Tobacco, Firearms, and

 Explosives (ATF) and as a Reserve Deputy Sheriff for the Grant County Sheriff’s

 Department in Grant County, Indiana. I obtained a Bachelor of Arts degree in Finance

 from Ball State University. I have also graduated from the Criminal Investigators Training

 Program (CITP), the Immigration and Customs Enforcement Special Agent Training

 (ICESAT), and the ATF Special Agent Basic Training (SABT) programs at the Federal

 Law Enforcement Training Center (FLETC) in Glynco, GA. I have previously been

 assigned to the ICE/HSI Assistant Special Agent in Charge, Harlingen, Texas, Rio Grande

 Valley Border Enforcement Security Task Force (RGV BEST). As well as the U.S.

 Marshal’s Service Gulf Coast Violent Offenders and Fugitive Task Force. My present

 responsibilities include the investigation of violations of Title 8, 18, 19, 21, and 26 of the

 United States Code and related offenses. I have conducted and participated in numerous

 investigations violations of federal firearm and Immigration laws and have focused

 attention on the detection and apprehension of individuals violating both federal and state

 laws.
Case 1:21-cr-00243-JPH-DML Document 2 Filed 08/09/21 Page 3 of 14 PageID #: 4




       2.     The facts in this affidavit come from my personal observations, my

training and experience, and from information obtained from other agents and witnesses.

This affidavit is intended to show merely that there is sufficient probable cause for the

requested warrant and does not set forth all of my knowledge about this matter.

       3.     I make this affidavit in support of a criminal complaint. This complaint

charges that Nathan CANARY possessed with intent to distribute marijuana in violation

of Title 21, United States Code, Section 841(a)(1); possessed a firearm in furtherance of

a drug trafficking crime in violation of Title 18, United States Code, Section 924(c); and

possessed a firearm as a previously convicted felon in violation of Title 18, United States

Code, Section 922(g)(1).

                             INVESTIGATIVE SUMMARY

       4.     At approximately 2:30 p.m. on August 3, 2021, members of the Homeland

Security Investigations (HSI) Indianapolis Circle City Task Force (CCTF) received

information from the Transportation Security Administration (TSA) regarding an individual

who went thru the security checkpoint at the Indianapolis International Airport (IND) with a

large amount of U.S. Currency (USC). TSA advised the individual was a male identified as

Moshe HAIMOV (hereinafter, M.HAIMOV). TSA advised M.HAIMOV stated he and his

brother were traveling with $80,000.00 USC. TSA advised that M.HAIMOV had the USC

concealed in his backpack. TSA advised both were going to depart at 3:45 p.m. on Southwest

Airlines flight #3692 for Ft. Lauderdale, FL and that it would be boarding at gate B21. TSA

described M.HAIMOV as a white male wearing a gray Nike sweatshirt and blue jeans. TSA

advised that M.HAIMOV stated he was a Jewelry Salesman and that he sold Jewelry to some

“Pacers” (Indiana Pacers NBA basketball team). TFO Kyle Freeman, Resident Agent in
Case 1:21-cr-00243-JPH-DML Document 2 Filed 08/09/21 Page 4 of 14 PageID #: 5




Charge (RAC) Daron Babcock, and Plainfield Police Department K9 Officer Mike Standiford

along with certified narcotics K9 Axel responded to the airport to investigate.

       5.      RAC Babcock observed M.HAIMOV and a second individual (later identified

as Levi HAIMOV, hereinafter L.HAIMOV) sitting near gate B21. Officer Standiford

deployed K9 Axel for a free air sniff of individuals’ bags in the general area near gate B21.

K9 Axel alerted to the odor of a narcotic/controlled substance on the two carry-on bags on

the floor near where M.HAIMOV and L.HAIMOV were sitting.

       6.      TFO Freeman then approached both individuals and initiated a consensual

encounter. TFO Freeman identified himself as Law Enforcement and asked to speak with

both individuals away from other passengers. Both M.HAIMOV and L.HAIMOV consented

to the request. TFO Freeman asked M.HAIMOV if he had an issue at TSA. M.HAIMOV

stated no. TFO Freeman then asked M.HAIMOV if he was traveling with a large amount of

US Currency. M.HAIMOV then stated he was flying with a large amount of USC.

       7.      M.HAIMOV stated that he came into town from Miami, FL earlier in the

morning to conduct business. M.HAIMOV stated that he was a Jewelry Dealer and sold some

jewelry to an individual. M.HAIMOV stated he did not know the individual. M.HAIMOV

then stated he knew the customer as “Nate.” M.HAIMOV stated he could not remember what

he sold “Nate” and could not provide any receipt or records pertaining to the jewelry that was

sold. M.HAIMOV could not provide the exact amount of USC he was traveling with or

exactly what he sold to “Nate” and for how much. TFO Freeman then asked for consent to

search M.HAIMOV’s belongings and take a look at his cell phone text messages pertaining

to the jewelry transaction. M.HAIMOV granted consent for TFO Freeman to search his carry-
Case 1:21-cr-00243-JPH-DML Document 2 Filed 08/09/21 Page 5 of 14 PageID #: 6




on backpack and go through his cell phone, which consisted of a text string with a “Nate

Wale” who was the person M.HAIMOV stated he had sold jewelry to earlier in the day.

       8.      While TFO Freeman was speaking with M.HAIMOV, HSI Indianapolis RAC

Daron Babcock initiated a consensual encounter with L.HAIMOV. L.HAIMOV advised he

flew to IND with his brother to conduct a jewelry transaction, stated they had left Miami

International Airport earlier in the day at approximately 8:30 a.m., and had stayed together

the entire time they were in Indianapolis. L.HAIMOV granted verbal permission for law

enforcement to search his gray backpack following a positive K9 alert for the odor of

narcotics/controlled substances, but nothing illegal was located inside the backpack. RAC

Babcock asked clarifying questions of L.HAIMOV, but he was unable to provide any details

about the reason for the trip to IND, who the jewelry transaction had taken place with, and

advised his brother (M.HAIMOV) was the person who brought the jewelry and conducted the

transaction.

       9.      TFO Freeman then located multiple rubber-banded stacks of U.S. Currency

inside of M.HAIMOV’s multi-colored backpack along with a small amount of jewelry. There

were also a few items of clothing inside the backpack as well. TFO Freeman reviewed

M.HAIMOV’s text string with “Nate Wale” and observed a video recording of a marijuana

grow operation.

       10.     In addition, TFO Freeman saw a text message from M.HAIMOV to “Nate

Wale” asking for “Nate Wale’s” address. “Nate Wale” replied with a text message which

read, “6471 creekside lane 46220” and a follow-up message which stated, “My house”. RAC

Babcock then asked M.HAIMOV if the address in the text string was where the jewelry

transaction took place, and he responded that he and his brother took an Uber to the 6471
Case 1:21-cr-00243-JPH-DML Document 2 Filed 08/09/21 Page 6 of 14 PageID #: 7




Creekside Lane residence and met with “Nate Wale.” M.HAIMOV stated “Nate Wale”

brought the money out of the residence and paid him for jewelry but was unable to state

definitively what type of jewelry was sold and for how much. When asked if he had a receipt

for the transaction, M.HAIMOV advised the receipt was at his business in Miami, FL. When

asked if his company had an online website, M.HAIMOV pulled up a website for “Haimov

Jewelers” but was unable to explain why he needed to travel to Indianapolis to complete a

jewelry transaction and pick-up U.S. Currency when customers could purchase items directly

from the company online.

       11.     TFO Freeman then advised M.HAIMOV the money was being seized for

federal violations of 18 USC 981 and 21 USC 881 as proceeds related to illegal narcotics

trafficking and money laundering based on the marijuana grow video on his cell phone, the

positive K9 alert on the backpack containing the USC, and the implausible story about selling

an unknown type of jewelry for an unknown amount of money during a short layover stay in

Indianapolis. M.HAIMOV was then provided an HSI Receipt for Property and both he and

his brother L.HAIMOV subsequently boarded their flight for Ft. Lauderdale, FL.

       12.     TFO Freeman, Officer Standiford, and RAC Babcock then took the seized

USC to the CBP International Arrivals area at IND. Officer Standiford then walked K9 Axel

around the area with no positive alerts to the odor of narcotics. RAC Babcock then concealed

the USC in the area and when K9 Axel walked through the area again he located the bag

containing the USC and positively alerted to the odor of narcotics/controlled substances on

the bag. A PAD aerosol test was then conducted on the USC, and the results were positive

for trace amounts of marijuana on the seized USC. The test is performed by taking a PAD

and rubbing it on the US Currency and spraying an Aerosol Chemical onto a PAD. The PAD
Case 1:21-cr-00243-JPH-DML Document 2 Filed 08/09/21 Page 7 of 14 PageID #: 8




then turns a color indicating the presence of controlled substances. In this instance the PAD

turned red indicating the presence of Marijuana. The seized USC was then sealed in an

evidence bag and initialed. The USC was later bank counted for a total of $149,020.00.

       13.     Law enforcement database queries for the residential address of “Nate Wale”

came back associated to Nathan CANARY, a marijuana trafficker well-known to law

enforcement officers in the Indianapolis, IN area. Criminal history checks for CANARY

revealed a federal conviction from November 2008 for violations of 21 USC 846, Conspiracy

to Distribute 100 Kilograms or More of Marijuana in the Western District of New York.

CANARY received a sentence of 18 months imprisonment in the federal Bureau of Prisons.

In addition, CANARY had a state felony conviction in October 2017 for marijuana possession

and dealing marijuana. HSI Indianapolis Task Force Officers also seized approximately

$5,000 in suspected narcotics proceeds from CANARY during October 2019 at the

Indianapolis International Airport.   In addition to criminal records checks, a query of

CANARY’s current Indiana driver’s license shows the address on Creekside Lane,

Indianapolis, IN 46220 as his home of record.

       14.     At approximately 10:25 p.m. on August 3, 2021, SAs and Officers executed a

state search warrant for CANARY’s residence located on Creekside Lane, Indianapolis, IN

46220. Nathan CANARY and his brother Ben Canary were located inside the residence at

the time the search warrant was executed.

       15.     During the execution of the search warrant at CANARY’s house, HSI SA

Selby and HSI TFO Freeman conducted a custodial interview of Nathan CANARY.

N.CANARY was read his Miranda Rights by officers on the scene. N.CANARY stated he

understood his rights and was willing to waive his rights in an effort to discuss the reason
Case 1:21-cr-00243-JPH-DML Document 2 Filed 08/09/21 Page 8 of 14 PageID #: 9




why law enforcement officers had executed a search warrant on his property. N.CANARY

stated he had received a phone call from his jeweler regarding the incident that occurred

earlier in the day at the Indianapolis International Airport regarding the seizure of a large

amount of U.S. Currency. N.CANARY stated the HAIMOV brothers were at his residence

to not only sell jewelry, but to also collect money from N.CANARY to pay for a debt on a

necklace. N.CANARY stated he gave the HAIMOV brothers a partial debt payment.

N.CANARY stated the HAIMOV brothers were also at his house to sell jewelry to others but

would not elaborate on who else was at his house by stating, “you are asking me to rat other

people out.” N.CANARY stated he had been conducting business with HAIMOV Jewelers

for 5 to 6 years.

        16.     N.CANARY stated he did not give the HAIMOV brothers all the money that

was seized earlier in the day by law enforcement officials. N.CANARY stated the HAIMOV

brothers arrived at his house with a large amount of money in their bag. N.CANARY did not

want to specify the amount of money he gave to the HAIMOV brothers.

        17.     N.CANARY stated he makes between $300,000.00 and $400,000.00 a year.

N.CANARY stated he is the co-owner of Herculean Meal Prep with his brother Ben Canary.

N.CANARY stated he is also involved in real estate investments. N.CANARY stated he had

not filed taxes in several years but does have an extension from the IRS.

        18.     N.CANARY stated he is currently involved in Marijuana related business

venture. N.CANARY acknowledged he has yet to obtain a lawful permit from any of the

states where marijuana has been legalized.

        19.     N.CANARY stated he knew he was a previously convicted felon, and

understood that as such he was prohibited from possessing firearms/ammunition.
Case 1:21-cr-00243-JPH-DML Document 2 Filed 08/09/21 Page 9 of 14 PageID #: 10




 N.CANARY acknowledged it might be possible that his DNA would be present on the

 firearms law enforcement personnel retrieved from his residence. N.CANARY did not state

 who the firearms belonged to.

        20.    HSI SA Selby and HSI TFO Freeman then interviewed Ben Canary.

 B.Canary was advised of his Miranda Rights and acknowledged he understood his rights.

 B.Canary stated he did not live at the Creekside Lane residence. B.Canary stated he did

 not have a room in the residence with any of his possessions. B.Canary then requested

 an attorney be present before any further questions were asked.

        21.    During the search of the residence SAs and Officers located the following

 items throughout the residence:

       * Sig Sauer P938, S/N: 5213094913, 9MM, pistol – Master Bedroom

       * Glock 17, S/N: NONE, 9MM, pistol – Master Bedroom

       * Benelli Nova pump action shotgun, S/N: Z744367Y14, 12 Gauge – Garage

       * Wolf Magnum, .50 Caliber, S/N: 61-13-011919-07, rifle – Basement

       * 12 gauge shotgun shells (208 total) – Office

       * 30-06 rounds (179 total) – Office

       * 30 caliber rounds (49 total) – Office

       * 30-30 rounds (4 total) – Office

       * Smith and Wesson .40 caliber pistol magazine containing 3 live rounds - Office

       * approximately 610.1 grams of marijuana

       * approximately 1.02 kilograms of marijuana THC wax

       * approximately 62 marijuana THC vape cartridges

       * approximately 11 oxycodone pills
Case 1:21-cr-00243-JPH-DML Document 2 Filed 08/09/21 Page 10 of 14 PageID #: 11




        * approximately 13 amphetamine pills

        * approximately 548 grams of marijuana THC wax in jars

        * approximately 478.1 grams of various steroids

        * approximately 344.7 grams of marijuana THC edibles

        * a commercial grade money counter

        * digital scales

        * various smoking pipes/apparatus

        * vacuum sealing equipment

        * a total of $93,293 in U.S. Currency

        * multiple drug ledgers

        * six cellular phones

 Each of the firearms with the exception of the Glock 17, seized from CANARY’s residence

 were manufactured outside the State of Indiana. At this time, I do not know where the Glock

 17 was manufactured. The Glock 17 was found to contain 22 live rounds in the magazine that

 was inserted into the pistol. The Sig Sauer P938 was found to contain 5 live rounds in the

 magazine that was inserted into the pistol. No firearms were found to contain a live round in

 their respective chambers.

        Analysis of Documents

         22.     During the search of the room deemed CANARY’s office law enforcement

  located and seized numerous documents as evidence of distribution of marijuana. These

  documents included printed out invoices, notebooks utilized as ledgers, handwritten ledgers

  on sticky notes, shipping manifest documents, manilla files containing customer orders of

  quantities of marijuana and THC products, and sales order invoices from a marijuana contract
Case 1:21-cr-00243-JPH-DML Document 2 Filed 08/09/21 Page 11 of 14 PageID #: 12




 manufacturing co-packing and distribution company. This room also contained two large dry

 erase boards with nicknames and initials of individuals with quantities of money owed, money

 paid, and or quantities of marijuana and marijuana products ordered.

        23.     In this same room (the office), officers recovered a portion of the $93,233 of

 U.S. Currency seized from the house. Some of this currency found in the office was packaged

 in vacuum sealed rubber banded stacks. From my training and experience, this is consistent

 with the packaging of drug proceeds.

        24.     Other agents and I have begun to analyze the documents seized from the

 office; these documents appear to detail an extensive marijuana distribution operation.

 Specifically, there are invoices that show the name of the strain of marijuana, price per unit

 (term commonly utilized referencing one pound), quantity of units ordered, total price of

 product, previous customer balance, total before payments, and payments. From my training

 and experience, these documents evidence that CANARY was distributing marijuana, Butane

 Hash Oil (commonly referred to as wax and or shatter) THC vape cartridges, and THC

 edibles.

        25.     There was an invoice in the name of “Shirts” that showed 54 different strains

 or flavors of marijuana ordered totaling 569.5 pounds. The total balance of this order was

 $1,030,200. Previous balance showed $66,800 owed for a total balance before payments of

 $1,097,000. The document showed payments of $139,000; $240,000; $130,000; $51,000;

 $100,000; and $2,200. Another document seized also showed “Shirts” made a payment of

 $100,000 in June, as shown on the original invoice.

        26.     Multiple other invoices were recovered showing large quantities of marijuana

 and marijuana products delivered, with large quantities of money paid and owed.
Case 1:21-cr-00243-JPH-DML Document 2 Filed 08/09/21 Page 12 of 14 PageID #: 13




        27.     A piece of notebook paper recovered was titled “Flower Inventory.” Through

 my training and experience, I am aware that the term “Flower” is used to reference actual

 marijuana buds. This inventory ledger showed 16 different strains of marijuana with numbers

 alongside the names. I believe these numbers represent the total number of pounds of each

 strain available to CANARY at the time ledger was written. The total represented was 537

 pounds.

        28.     A document titled “Payments + Expenses” outlined money coming in and out

 of CANARY’s marijuana distribution operation. A portion of the document read: “we flew

 out with-$370,189; $507,000; $280,545; and $1,000,000.” I believe this notation shows cash

 profits that CANARY transported on an airplane from Indianapolis, Indiana to California.

        29.     A customer ledger for “Indi Jones” showed strains of marijuana, butane hash

 oil, THC gummies, and other edibles ordered.

        30.     Multiple invoices were found titled “Lets Get It Entertainment.” Some of

 these invoices contained nicknames of the individual customers. One of the customers was

 identified from the documents under the name “Chi.” This is believed to be an individual that

 CANARY supplies who lives in Chicago Illinois.

        31.     Shipping Manifests were seized from CANARY’s office detailing the

 quantities and strains of marijuana, THC edibles and butane hash oil contained in the

 shipment. One such manifest seized titled “Manifest by Crate 6-23-2021” showed the

 following quantities of marijuana products shipped by indicating “Box #, :”Strain”, and

 “Count” per Crate, as follows:

       Crate 1 showed 16 boxes of approximately 274lbs of marijuana

       Crate 2 showed 27 boxes of approximately 278lbs of marijuana
Case 1:21-cr-00243-JPH-DML Document 2 Filed 08/09/21 Page 13 of 14 PageID #: 14




        Crate 3 showed 16 boxes of approximately 245lbs of marijuana

        Crate 4 showed 34 boxes of Edibles

        Crate 5 showed 6 coolers of “WC Shatter,” which indicated West Coast Shatter (butane

 hash oil)

        Crate 6 showed 54 boxes of Chocolates (200 per box)

        Crate 7 showed 54 boxes of Chocolates (200 per box)

        Crate 8 showed 32 boxes of Gummies (250 per box)

 Other manifests recovered were dated 9/13/2020, 9/16, 10/2, and 6/17/2021.

        Use of Firearms and Other Items in Large Scale Drug Trafficking

         32.     From my training and experience in narcotics enforcement, I know that

  drug traffickers utilize digital scales and vacuum sealing equipment in furtherance of

  drug trafficking, as these items assist in weighing and packaging their product. I am aware

  that large scale drug traffickers keep ledgers of the sort found in CANARY’s home, in

  order to keep drugs and outstanding drug debts straight. I am aware that the amount of

  marijuana seized from CANARY’s residence, as described above, was suitable for and

  commensurate with distribution, not with personal consumption. Furthermore, I know

  that drug traffickers possess firearms in order to protect their drugs and their drug

  proceeds.



                                           CONCLUSION

         33.     Based on the above paragraphs, I respectfully submit that there is probable

  cause to believe that Nathan CANARY committed the following violations of federal law:

  possession with intent to distribute a mixture or substance containing a detectable amount of
Case 1:21-cr-00243-JPH-DML Document 2 Filed 08/09/21 Page 14 of 14 PageID #: 15




  marijuana, a Schedule I controlled substance, in violation of Title 21, United States Code,

  Section 841(a)(1); possession of a firearm in furtherance of a drug trafficking crime in

  violation of Title 18, United States Code, Section 924(c); and possession of a firearm as

  a previously convicted felon in violation of Title 18, United States Code, Section

  922(g)(1).

        FURTHER AFFIANT SAYETH NOT.



                                          __/s/ Luther Selby         ____________________
                                          Luther Selby
                                          ICE-HSI Special Agent


 Attested to by the applicant in accordance with the requirements of Fed.R.Crim.P. 4.1 by
 telephone.


        Dated: _____________

                      8/9/2021
                                             Mark J. Dinsmore
                                             United States Magistrate Judge
                                             Southern District of Indiana
